     Case:24-10075-SDB Doc#:192 Filed:03/29/24 Entered:03/29/24 16:09:44                                     Page:1 of 1


                          UNITED STATES BANKRUPTCY COURT
                                            Southern District of Georgia

In re:                                                                              Case No.: 24−10075−SDB
RRG, Inc.,                                                                          Judge: Susan D. Barrett
       Debtor.
                                                                                    Chapter: 11



                               ORDER REQUIRING SERVICE BY MOVANT

IT IS ORDERED THAT:

1)    MOVANT Performance Food Group (Merchants Company, LLC) shall serve by mail, on or before April 1, 2024, a copy of Motion
      for Payment of Administrative Expense of Performance Food Group (Merchants Company, LLC) (docket 181) and Notice of Hearing
      (docket 191) to all parties required by the Bankruptcy Code and Rules.
2)    MOVANT Performance Food Group (Merchants Company, LLC) shall complete and file with the Court a Certificate of Service
      immediately upon serving the required document(s).




                                                                 Susan D. Barrett
                                                                 United States Bankruptcy Judge
                                                                 Federal Justice Center
                                                                 600 James Brown Blvd
                                                                 P.O. Box 1487
                                                                 Augusta, GA 30903

Dated: March 29, 2024




B−07 [Rev. 01 /23] AKG
